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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS


 IEP TECHNOLOGIES, LLC,
              Plaintiff,                                 Civil Action File No.:
                                                         1:21-cv-10417-RWZ
               v.

KPM ANALYTICS, INCORPORATED
F/K/A STATERA ANALYTICS,
INCORPORATED AND KPM ANALYTICS
NORTH AMERICA CORPORATION F/K/A
PROCESS SENSORS CORPORATION,
              Defendants.




               NOTICE OF APPEARANCE OF PAUL JOSEPH SPINA IV

       TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

       PLEASE TAKE NOTICE that Paul Joseph Spina IV of Thomas Horstemeyer, LLP,

Georgia Bar No. 839522, hereby enters his appearance as counsel for Defendants KPM Analytics,

Incorporated F/K/A Statera Analytics, Incorporated and KPM Analytics North America

Corporation F/K/A Process Sensors Corporation in the above-captioned matter.

       Respectfully submitted this 17th day of February, 2025.

                                           /s/ Paul Joseph Spina IV
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 INCORPORATED AND KPM ANALYTICS
 NORTH AMERICA CORPORATION F/K/A
 PROCESS SENSORS CORPORATION,
               Defendants.



                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 17, 2025, the foregoing was filed using the Court’s ECF

system, which will automatically send electronic notice of such filing to all attorneys of record.

                                              /s/ Paul Joseph Spina IV
                                              Paul Joseph Spina IV

                                              Attorney for Defendants




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